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In the Matter of the Arbitration
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between
x
BOARD OF EDUCATION OF THE CITY Re: Impact Bargaining
SCHOOL DISTRICT OF THE CITY OF x
NEW YORK
x
“Department”
x
-and-
x
UNITED FEDERATION OF TEACHERS,
LOCAL 2, AFT, AFL-CIO x
“Union” x
— ee ee ee 4

APPEARANCES

For the Department

Renee Campion,

Steven H. Banks, Esq., First Deputy Commissioner

Commissioner of Labor Relations

and General Counsel of Labor Relations

For the Union

STROCCK & STROOCK & LAVAN, L.L.P.
Alan M. Klinger, Esq.

Beth Norton, Esq., UFT General Counsel

Michael Mulgrew,

UFT President

BEFORE: Martin F. Scheinman, Esg., Arbitrator
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BACKGROUND

The Union (“Union” or “UFT”) protests the Department of
Education’s (“Department” or “DOE”) failure to reach agreement on
the impact of its decision mandating all employees working in
Department buildings show proof they started the Covid-19
vaccination protocols by September 27, 2021. The Union contends the
Department failed to adequately provide, among other things, for
those instances where employees have proof of a serious medical
condition making the vaccine a danger to their health, as well as
for employees who have a legitimate religious objection to vaccines.

Most of the basic facts are not in dispute.

For those in the New York City (“NY¥C” or “City”) metropolitan
area, we are now in the 18th month of the Covid-19 pandemic. During
that time, we have seen substantial illness and loss of life. There
have been periods of significant improvement and hope, but sadly, we
have seen resurgence with the Delta variant. Throughout this period,
NYC and its municipal unions have worked collaboratively to provide
needed services for the City’s 8.8 million residents in as safe an
environment as possible. Yet, municipal employees have often borne
great risk. The Department and the UFT are no exception. The DOE
and the UFT immediately moved to remote instruction and then later
a hybrid model of both in-person and remote learning for the 2020-
2021 school year. Educators at all levels strove to deliver the

best experience possible under strained circumstances. For this
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coming school year, both the DOE and the UFT have endeavored to
return, as much as possible, to in-person learning. They have
developed protocols regarding masking and distancing to effectuate
a safe environment for the City’s students and educators.

To this end, the Delta resurgence has complicated matters. In
recognition of increased risk, there have been various policies
implemented at City agencies and other municipal entities. Mayor de
Blasio in July 2021 announced a “Vaccine-or-Test” mandate which
essentially requires the City workforce, including the UFT’s
educators, either to be vaccinated or undergo weekly testing for the
Covid-19 virus effective September 13, 2021. |

Most relevant to this matter, on August 23, 2021, the Mayor and
the NYC Commissioner of Health and Mental Hygiene, David A. Chokshi,
MD, announced a new policy for those workforces in NYC DOE buildings.
Those employees would be subject to a “Vaccine Only” mandate. That
is, such employees would need to show by September 27, 2021, they
had at least started the vaccination protocol or would not be allowed
onto DOE premises, would not be paid for work and would be at risk
of loss of job and benefits. This mandate was reflected in an Order
of Commissioner Chokshi, dated August 24, 2021. That Order, by its
terms, did not expressiy provide for exceptions or accommodations
for those with medical contraindications to vaccination or
sincerely-held religious objections to inoculation. Nor did it
address matters of due process with regard to job and benefits

protection.
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The UFT promptly sought to bargain the impact and implementation
of the Vaccine Only mandate. A number of discussions were had by
the parties but important matters remained unresolved.

On September 1, 2021, the UFT filed a Declaration of Impasse
with the Public Employment Relations Board (“PERB”) as to material
matters. The City/DOER did not challenge the statement of impasse
and PERB appointed me to mediate the matters. Given the exigencies
of the imminent start of the school year and the coming of the
September 27, 2021, mandate, together with the importance of the
issues involved to the workforce, mediations sessions were held
immediately on September 2, 3, 4 and 5, 2021, with some days having
multiple sessions. Progress was made, and certain tentative
understandings were reached, but significant matters remained
unresolved. By agreement of the parties, the process moved to
arbitration. They asked I serve as arbitrator.!

Arbitration sessions were held on September 6 and 7, 2021.
During the course of the hearings, both sides were given full
opportunity to introduce evidence and argument in support of their
respective positions. They did sc. Both parties made strenuous and
impassioned arguments reflecting their viewpoints on this entire
issue.

During the course of these hearings, I made various interim

rulings concerning the impact of the “Vaccine Only” mandate. I then

 

1 My jurisdiction is limited to the issues raised during impact
bargaining and not with regard to the decision to issue the
underlying “Vaccine Only” order.

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directed the parties to draft language reflecting those rulings.
Even though I am very familiar with the language of the current
Collective Bargaining Agreement, as well as the parties’
relationship since I am a member of their permanent arbitration panel
and have served as a fact-finder and mediator during several rounds
of bargaining, I concluded the parties are more familiar with
Department policy and how leave and entitlements have been
administered in accordance with prior agreements. As such, my
rulings reflect both the understandings reached during the
negotiations prior to mediation, those reached in the mediation
process and the parties’ agreed upon language in response to my
rulings. All are included, herein.

I commend the parties for their seriousness of purpose and
diligence in addressing these complicated matters. The UFT made
clear it supports vaccination efforts and has encouraged its members
to be vaccinated. Nonetheless, as a Union, it owes a duty to its
members to ensure their rights are protected. The City/DOE
demonstrated recognition of the importance of these issues,
particularly with regard to employees’ legitimate medical or
religious claims. I appreciate both parties’ efforts in meeting the
tight timeline we have faced and the professionalism they
demonstrated serving the citizens of the City and what the million
plus students deserved. They have invested immense effort to insure

such a serious issue was litigated in such a thoughtful way.
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Yet, in the end, it falls to me, as Arbitrator, to arrive at a
fair resolution of the matters at hand.

This matter is one of the most urgent events I have been
involved with in my forty (40) plus years as a neutral. The parties
recognized the complexity of the issues before me, as well as the
magnitude of the work that lies ahead to bring this conflict to
completion in a timely manner. For this reason, they understood and
accepted the scope and complexity of this dispute could not be
handled by me alone. They agreed my colleagues at Scheinman
Arbitration and Mediation Services (“SAMS”) would also be involved.

I want to thank my colleagues at SAMS, especially Barry J.
Peek, for their efforts and commitment to implementing the
processes to resolve this matter. This undertaking could not be

accomplished by any single arbitrator.

Opinion

After having carefully considered the record evidence, and
after having the parties respond to countless inquiries. I have
requested to permit me to make a final determination, I make the
rulings set forth below. While some of the language has been
drafted, initially, by the parties in response to my rulings, in the
end the language set forth, herein, is mine alone. I hereby issue
the following Award:
I. Exemption and Accommodation Requests & Appeal Process

As an alternative to any statutory reasonable accommodation
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process, the City, the Board of Education of the City School District
for the City of New York (the “DOER”), and the United Federation of
Teachers, Local 2, AFT, AFL-CIO (the “UFT), (collectively the
“Parties”) shall be subject to the following Expedited Review Process
to be implemented immediately for full-time staff, H Bank and non-
pedagogical employees who work a regular schedule of twenty (20)
hours per week or more inclusive of lunch, including but not limited
to Occupational Therapists and Physical Therapists, and Adult
Education teachers who work a regular schedule of twenty (20) or
more hours per week. This process shall only apply to (a) religious
and medical exemption requests to the mandatory vaccination policy,
and (b) medical accommodation requests where an employee is unable
to mount an immune response to COVID-19 due to preexisting immune
conditions and the requested accommodation is that the employee not
appear at school. This process shall be in place for the 2021-2022
school year and shall only be extended by mutual agreement of the
Parties.

Any requests to be considered as part of this process must be
submitted via the SOLAS system no later than Monday, September 20,
2021, by 5:00 p.m.

A. Full Medical Exemptions to the vaccine mandate shall only be
considered where an employee has a documented
contraindication such that an employee cannot receive any of
the three (3) authorized vaccines (Pfizer, Moderna, J&J)—

with contraindications delineated ain CDC clinical
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considerations for COVID-19 vaccination. Note that a prior

immediate allergic reaction to one (1) type of vaccine will

be a precaution for the other types of vaccines, and may

require consultation with an allergist.

B. Temporary Medical Exemptions to the vaccine mandate shall

only be based on the following valid reasons to defer or

delay COVID-19 vaccination for some period:

Co

Within the isolation period after a COVID-19 infection;
Within ninety (90) days of monoclonal antibody treatment
of COVID-19;

Treatments for conditions as delineated in CDC clinical
considerations, with understanding CDC guidance can be
updated to include new considerations over time, and/or
determined by a treating physician with a valid medical
license responsible for the immunosuppressive therapy,
including full and appropriate documentation that may
Warrant temporary medical exemption for some period of
time because of active therapy or treatment (e.g., stem
cell transplant, CAR T-cell therapy) that would
temporarily interfere with the patient’s ability to
respond adequately to vaccination;

Pericarditis or myocarditis not associated with COVID-19
vaccination or pericarditis or myocarditis associated with

COVID-19 vaccination.
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Length of delay for these conditions may vary, and the employee
must get vaccinated after that period unless satisfying the criteria

for a Full Medical Exemption described, above,

C. Religious exemptions for an employee to not adhere to the
mandatory vaccination policy must be documented in writing
by a religious official (e.g., clergy). Requests shall be
denied where the leader of the religious organization has
spoken publicly in favor of the vaccine, where the
documentation is readily available (e.g., from an online
source), or where the objection is personal, political, or
philosophical in nature. Exemption requests shall be
considered for recognized and established religious
organizations (e.g., Christian Scientists).

D. There are cases in which, despite an individual having sought
and received the full course of the vaccination, he or she
is unable to mount an immune response to COVID-19 due to
preexisting immune conditions. In these circumstances, each
individual case shall. be reviewed for potential
accommodation. Medical accommodation requests must be
documented in writing by a medical doctor.

EB. The initial determination of eligibility for an exemption or
accommodation shall be made by staff in the Division of Human
Capital in the Office of Medical, Leaves and Benefits; the

Office of Equal Opportunity; and Office of Employee
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G.

Relations. These determinations shall be made in writing no
later than Thursday, September 23, 2021, and, if denied,

shall include a reason for the denial.

. If the employee wishes to appeal a determination under the

identified criteria, such appeal shall be made in SOLAS to
the DOE within one (1) school day of the DOE’s issuance of
the initial eligibility determination. Tne request for
appeal shall include the reason for the appeal and any
additional documentation. Following the filing of the appeal,
any supplemental documentation may be submitted by the
employee to the Scheinman Arbitration and Mediation Services
(“SAMS”) within forty eight (48) hours after the filing of
the appeal. If the stated reason for denial of a medical
exemption Or accommodation request is insufficient
documentation, the employee may request from the arbitrator
and, upon good cause shown, the arbitrator may grant an
extension beyond forty eight (48) hours and permit the use
of CAR days after September 27, 2021, for the employee to
gather the appropriate medical documentation before the
appeal is deemed submitted for determination.

A panel of arbitrators identified by SAMS shall hear these
appeals, and may request the employee or the DOE submit
additional documentation. The assigned arbitrator may also
request information from City and/or DOE Doctors as part of

the review of the appeal documentation. The assigned

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arbitrator, at his or her discretion, shall either issue a
decision on the appeal based on the documents submitted or
hold an expedited (virtual} factual hearing. If the
arbitrator requests a factual hearing, the employee may elect
to have a union representative present but neither party
shail be required to be represented by an attorney at the
hearing. The expedited hearing shall be held via Zoom
telecommunication and shall consist of brief opening
Statements, questions from the arbitrator, and brief closing
statements. Cross examination shall not be permitted. Any
documentation submitted at the arbitrator’s request shall be
provided to the DOE at least one (1) business day before the
hearing or the issuance of the written decision without
hearing.

H. Appeal decisions shall be issued to the employee and the DOE
no later than Saturday September 25, 2021. Appeal decisions
shall be expedited without full Opinion, and final and
binding.

I. While an appeal is pending, the exemption shall be assumed
granted and the individual shall remain on payroll consistent
with Section K below. However, if a larger number of
employees than anticipated have a pending appeal as of
september 27, 2021, as determined by SAMS, SAMS may award
different interim relief consistent with the parties’ intent.

Those employees who are vaccinated and have applied for an

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accommodation shall have the ability to use CAR days while
their application and appeal are pending. Should the appeal
be granted, these employees shall be reimbursed any CAR days
used retroactive to the date of their initial application.

J. The DOE shall cover all arbitration costs from SAMS under
this process. To the extent the arbitrator requests
additional medical documentation or information from the DOE,
or consultation with City and/or DOE Doctors, arranging and
paying for such documentation and/or consultation shall be
the responsibility of the DCE.

K. An employee who is granted a medical or religious exemption
or a médical accommodation under this process and within the
specific criteria identified above shall be permitted the
opportunity to remain on payroll, but in no event
required/permitted to enter a school building while
unvaccinated, as long as the vaccine mandate is in effect.
Such employees may be assigned to work outside of a school
building (e.g., at DOE administrative offices) to perform
academic or administrative functions as determined by the
DOE while the exemption and/or accommodation is in place.
For those with underlying medical issues granted an
accommodation under Section I{D), the DOF will make best
efforts to ensure the alternate work setting is appropriate
for the employee’s medical needs. The DOE shall make best

efforts to make these assignments within the same borough as

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the employee’s current school, to the extent a sufficient
number of assignments exist in the borough. Employees so
assigned shall be required to submit to COVID testing twice
per week for the duration of the assignment.

L. The process set forth, herein, shall constitute the exclusive
and complete administrative process for the review and
determination of requests for religious and medical
exemptions to the mandatory vaccination policy and
accommodation requests where the requested accommodation is
the employee not appear at school. The process shall be
deemed complete and final upon the issuance of an appeal
decision. Should either party have reason to believe the
process set forth, herein, is not being implemented in good
faith, it may bring a claim directly to SAMS for expedited
resolution.

Leave

Any unvaccinated employee who has not requested an exemption
pursuant to Section 1, or who has requested an exemption which
has been denied, may be placed by the DOF on leave without pay
effective September 28, 2021, or upon denial of appeal,
whichever is later, through November 30, 2021. Such leave may
be unilaterally imposed by the DOE and may be extended at the
request of the employee consistent with Section III(B), below.
Placement on leave without pay for these reasons shall not be

considered a disciplinary action for any purpose.

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B. Except as otherwise noted, herein, this leave shall be treated
consistent with other unpaid leaves at the DOE for all purposes.

C. During such leave without pay, employees shall continue to be
eligible for health insurance. As with other DOF leaves without
pay, employees are prohibited from engaging in gainful
employment during the leave period.

D. Employees who become vaccinated while on such leave without pay
and provide appropriate documentation to the DOE prior to
November 30, 2021, shall have a right of return to the same
school as soon as is practicable but in no case more than one
(1} week following notice and submission of documentation to
the DOE.

—. Pregnancy/Parental Leave
i. Any soon-to-be birth mother who starts the third trimester

of pregnancy on or before September 27, 2021, (e.g. has a
due date no later than December 27, 2021), may commence
UFT Parental Leave prior to the child’s birth date, but
not before September 27, 2021.

ii. No documentation shali be necessary for the early use of
Parental Leave, other than a doctor’s written assertion
the employee is in her third trimester as of September 27,
2021.

Lai. Bligible employees who choose to start Parental Leave
pricr to the child’s birth date, shall be required to first

use CAR days until either: 1) they exhaust CAR/sick days,

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at which point the Parental Leave shail begin, or 2) they
give birth, at which point they shall be treated as an
approved Parental Leave applicant for all purposes,
including their prerogative to use additional CAR days
prior to the commencement of Parental Leave.

Eligible employees who have a pregnancy disability or
maternity disability outside of the regular maternity
period may, in accordance with existing rules, borrow
CAR/sick days and use a Grace Period. This eligibility to
borrow CAR/sick days does not apply to employees during
the regular maternity recovery period if they have opted
to use Parental Leave.

in the event an eligible employee exhausts CAR/sick days
and parental leave prior to giving birth, the employee
Shall be placed on a leave without pay, but with medical
benefits at least until the birth of the child. As
applicable, unvaccinated employees may be placed in the
leave as delineated in Section II(A).

Tf not otherwise covered by existing Family Medical Leave
Act (“FMLA”) or leave eligibility, an employee who takes
Parental Leave before the birth of the child shall he
eligibie to be on an unpaid leave with medical benefits
for the duration of the maternity recovery period (i.e.,
six weeks after birth or eight weeks after a birth via Cc-

Section)

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vil. All other eligibility and use rules regarding UFT Parental

Leave as well as FMLA remain in place.

Separation

During the period of September, 28, 2021, through October 29,
2021, any employee who is on leave without pay due to
vaccination status may opt to separate from the DOE. In order
to separate under this Section and receive the commensurate
benefits, an employee must file a form created by the DOE which
includes a waiver of the employee’s rights to challenge the
employee’s involuntary resignation, including, but not limited
to, through a contractual or statutory disciplinary process. If
an employee opts to separate consistent with this Section, the
empioyee shall be eligible to be reimbursed for unused CAR days
on a one (1) for one (1) basis at the rate of 1/200th of the
employee’s salary at departure per day, up to 100 days, to be
paid following the employee’s separation with documentation
including the general waiver and release. Employees who elect
this option shall be deemed to have resigned involuntarily
effective on the date contained in the general waiver as
determined by the DOE, for non-disciplinary reasons. An
employee who separates under this Section shall continue to be
eligible for health insurance through September 5, 2022, unless
they are eligible for health insurance from another source

(@.g., a spouse’s coverage or another job).

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B. During the period of November 1, 2021: through November 30,
2021, any employee who is on leave without pay due to
vaccination status may alternately opt to extend the leave
through September 5, 2022. In order to extend this leave
pursuant to this Section, and continue to receive the
commensurate benefits, an employee must file a form created by
the DOE which includes a waiver of the employee’s rights to
challenge the employee’s voluntary resignation, including, but
not limited to, through a contractual or statutory disciplinary
process. Employees who select this option shall continue to be
eligible for health insurance through September 5, 2022.
Employees who comply with the health order and who seek to
return from this leave, and so inform the DOE before September
5, 2022, shall have a right to return to the same school as
soon as is practicable but in no case more than two (2) weeks
following notice to the DOE. Existing rules regarding notice
of leave intention and rights to apply for other leaves still
apply. Employees who have not returned by September 5, 2022,
shall be deemed to have voluntarily resigned.

C. Beginning December 1, 2021, the DOE shall seek to unilaterally
separate employees who have not opted into separation under

Sections IITI(A) and III{B). Except for the express provisions

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contained, herein, all parties retain all legal rights at all

times relevant, herein.

 

september / 0 , 2021.

 

Martin F. Scheinman, Esq.
Arbitrator

STATE OF NEW YORK }

COUNTY Of NASSAU }

i, MARTIN F. SCHEINMAN, ESQ., do hereby affirm upon my oath
as Arbitrator that I am the individual described herein and who

executed this instrument, which is my Awg

  

 

September /) , 2021. /
Martin F. Scheinman, Esq.
Arbitrator

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